   Case: 1:09-cr-00814 Document #: 739 Filed: 09/26/18 Page 1 of 2 PageID #:6228


                                                                      Judge Robert W. Gettleman

                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


United States of America                   }
                                           }
       v                                   }
                                           }      Case No. 09cr814
                                           }
Albert Holmes, et al                       }


TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR REASSIGNMENT

        It appearing that the above-captioned case requires further judicial action, I therefore
recommend to the Executive Committee that this case be reassigned by lot to an active judge of
this court. The reasons for my recommendation are indicated on the reverse of this form.

                                           THOMAS G. BRUTON, CLERK


                                           /s/ Sarah McCarthy
                                           Deputy Clerk

Dated: September 26, 2018


                           ORDER OF THE EXECUTIVE COMMITTEE

        IT IS HEREBY ORDERED that the Clerk of the Court reassign the above-captioned case
by lot to the calendar of an active judge of this court in accordance with the Rules.


                                           ENTER:

                                           FOR THE EXECUTIVE COMMITTEE




                                           ________________________________
                                            Chief Judge Rubén Castillo
Dated: September 26, 2018
  Case: 1:09-cr-00814 Document #: 739 Filed: 09/26/18 Page 2 of 2 PageID #:6229




IOP13(b) [ ]      This cause is currently pending on the Fugitive Calendar having previously
                  been assigned to the calendar of who is no longer sitting; it is recommended
                  that it be reassigned to the calendar of an active judge of this court, the
                  defendant no longer being a fugitive.

LR40.5   [ ]      Pursuant to the provisions of LR 40.5, this cause is to be reassigned by lot
                  having been reversed and remanded pursuant to a mandate issued by the
                  U.S. Court of Appeals, 7th Circuit.

IOP13(J) [X]      This cause having last been assigned to the calendar of Honorable Amy J.
                  St. Eve who is no longer sitting; it is recommended that it be reassigned to
                  the calendar of an active judge of this court as it appears to require further
                  judicial action.
